        Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 1 of 13




                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

JOANNA VARGAS,                     :
                                   :
              Plaintiff            :     CIVIL ACTION
                                   :
       v.                          :     Docket No. 1:16:CV-01657-YK
                                   :     (Judge Kane)
PENN STATE HERSHEY                 :     (Electronically Filed)
MILTON S. HERSHEY                  :
MEDICAL CENTER,                    :
                                   :
              Defendant            :     JURY TRIAL DEMANDED


              DEFENDANT’S PRETRIAL MEMORANDUM

Date conference was held by counsel: May 24, 2018

  A.        Statement as to Federal Court Jurisdiction

       Jurisdiction is based on diversity of citizenship under 28 U.S.C. §

1332. The Plaintiff is a citizen of Florida, whereas the Defendant is a

Pennsylvania corporation. The amount in controversy exceeds the sum

of $75,000.

  B.        Summary of Facts and Contentions as to Liability

       Plaintiff Joanna Vargas is Justino Vargas’s widow and Executor

of Mr. Vargas’s Estate. At the time of the medical treatment at issue in
       Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 2 of 13




this medical professional liability action, Mr. and Mrs. Vargas lived in

Florida but were visiting family in the Hershey, Pennsylvania area.

     In the early morning hours of December 2, 2014, Mr. Vargas

began to develop bright red, moderate rectal bleeding and almost

passed out on the toilet. He went to the bathroom and had a large

bowel movement consisting of bright red blood. At 3:00am, he had a

second large bright red bowel movement.

     Two hours after his rectal bleeding started, Mr. Vargas’s family

summoned an ambulance, which transported him to the Medical

Center’s Emergency Department (ED). While in the ED, Mr. Vargas

was determined to have acute blood loss anemia and hospital staff

inserted two large bore IVs to begin fluid resuscitation, obtained

bloodwork, and ordered a CT of his abdomen.

     Mr. Vargas was admitted to the Medical Center’s internal

medicine service and was taken to the Medical Center’s Intermediate

Care Unit (IMC) for close observation. He was aggressively

resuscitated with IV fluids (IVF) and his vital signs normalized.

     On consultation, the Medical Center’s gastroenterology (GI)

service planned for performance of an endoscopy (EGD) and


                                    2
         Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 3 of 13




colonoscopy. The GI service’s assessment was that Mr. Vargas had an

acute GI bleed, possibly due to a bleeding diverticula1 in view of his

known history of diverticular disease; alternatively, it was believed

that the bleeding may be due to peptic ulcer disease (PUD) associated

with Mr. Vargas recently beginning a course of nonsteroidal anti-

inflammatory drugs (NSAIDs).

     In the late afternoon on December 2, 2014 – the same day that

Mr. Vargas initially presented to the Medical Center – he underwent

an EGD and colonoscopy to evaluate the cause of his rectal bleeding.

The EGD demonstrated the presence of clean-based stomach ulcers.

His colonoscopy demonstrated the presence of numerous diverticula.

There was no active bleeding, blood, or stigmata of hemorrhage seen on

either the EGD or colonoscopy, however. Mr. Vargas never had any

recurrent bleeding during his hospitalization.

     Based on the EGD and colonoscopy results, Medical Center

gastroenterology staff believed that Mr. Vargas was at low risk of

suffering rebleeding.



     1  Diverticula are small pouches that bulge outward through the
colon, or large intestine.

                                      3
       Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 4 of 13




     The following morning, December 3, the Vargases were scheduled

to return to their home in Florida via airplane. Medical Center

internal medicine physician Dr. Daniel Lotner evaluated Mr. Vargas in

the early morning and had concerns regarding Mr. Vargas’s blood

counts. After discussing the Vargases’ planned air travel with Mr.

Vargas, Dr. Lotner ordered repeat lab work. After the lab tests

returned and were no longer concerning, Dr. Lotner agreed to discharge

Mr. Vargas from the hospital. Within his discharge summary, Dr.

Lotner documented that the Vargases had a flight to catch and “despite

our concern for rebleed he insisted on leaving.”

     After his discharge from the Medical Center on December 3, Mr.

and Mrs. Vargas traveled by air from Harrisburg to Philadelphia,

where they connected on another flight to Jacksonville. Mr. Vargas’s

condition was normal during the Harrisburg-to-Philadelphia flight.

     During the flight from Philadelphia to Jacksonville, Mr. Vargas

suffered a recurrence of his rectal bleeding. He was allegedly assisted

to the bathroom and, after entering, allegedly collapsed with the door

opened. The plane was diverted to Charlotte, North Carolina.




                                    4
       Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 5 of 13




     After the plane landed, Mr. and Mrs. Vargas were taken to a

hospital in separate ambulances. Mrs. Vargas learned at the hospital

that her husband had passed away.

     The Plaintiff claims that Medical Center staff prematurely

discharged Mr. Vargas from the hospital without definitively

identifying the source of his bleeding. The Plaintiff claims that, but for

this allegedly premature discharge, Mr. Vargas would have remained

in the hospital and would have received prompt treatment for the

recurrence of his bleeding.

     The Medical Center denies that its staff were negligent. In view

of Mr. Vargas’s presentation, evaluation with upper endoscopy and

colonoscopy, the lack of any evidence of bleeding vessels or stigmata of

hemorrhage on those evaluations, and the lack of any recurrence of Mr.

Vargas’s bleeding during his hospitalization, it was reasonable to

assess Mr. Vargas as being at low risk for rebleeding. Moreover,

Medical Center staff explained the potential of a recurrence of his

bleeding and Mr. Vargas nonetheless opted for discharge from the

hospital.




                                    5
        Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 6 of 13




  C.     Statement of Undisputed Facts

       The Plaintiff and the Medical Center agree that a physician-

patient relationship existed between Mr. Vargas and Medical Center

staff, as reflected within his Milton S. Hershey Medical Center medical

records. The Plaintiff and the Medical Center further agree that Dr.

Charles Davis and Dr. Daniel Lotner were employed by the Milton S.

Hershey Medical Center at the time period in question and that Dr.

Davis and Dr. Lotner participated in Mr. Vargas’s care and treatment

in the course and scope of their employment.

  D.     Brief Description of Damages

       The Plaintiff seeks unliquidated compensatory damages under the

Pennsylvania Survival and Wrongful Death Acts.

  E.     Witnesses

         1.    Defense Witnesses

               a. Dr. Daniel Lotner: will testify as to issues, matters,
                  and opinions within the scope of his care and
                  treatment of Justino Vargas (including discussions
                  with Mr. Vargas and his family), the medical records,
                  and deposition testimony;



               b. Dr. Charles Dye: will testify as to issues, matters, and
                  opinions within the scope of his care and treatment of
                  Justino Vargas (including discussions with Mr. Vargas

                                     6
Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 7 of 13




         and his family), the medical records, and deposition
         testimony;

      c. Dr. Simon Mucha: will testify as to issues, matters,
         and opinions within the scope of his care and
         treatment of Justino Vargas (including discussions
         with Mr. Vargas and his family), the medical records,
         and deposition testimony;

      d. Dr. Amy Welch: will testify as to issues, matters, and
         opinions within the scope of her care and treatment of
         Justino Vargas (including discussions with Mr. Vargas
         and his family), the medical records, and deposition
         testimony;

      e. Dr. Emmanuelle Williams: will testify as to issues,
         matters, and opinions within the scope of her care and
         treatment of Justino Vargas (including discussions
         with Mr. Vargas and his family) and the medical
         records;

      f. Dr. Loren Laine, defense expert: will testify as to
         issues of liability, causation, and damages consistent
         with the opinions set forth within his expert report
         (attached as Exhibit A) and his pretrial deposition
         testimony;

      g. Dr. Stephen Lagana, defense expert: will testify as to
         issues of liability, causation, and damages consistent
         with the opinions set forth within his expert report
         dated March 12, 2018 (attached as Exhibit B) and his
         pretrial deposition testimony;

      h. Any custodian of records whose presence is necessary
         to establish the authenticity of documents and/or to
         fulfill the business records exception pursuant to
         Fed.R.Evid. 803(6), to the extent Plaintiff either
         objects to the admissibility of documents on these
         bases or refuses to stipulate that the documents are
         authentic and business records;
                             7
        Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 8 of 13




               i. Defendant also reserves the right to call Joanna
                  Vargas, Justin Vargas, Dr. Robert Thomas, any
                  witness listed as potential witnesses by the Plaintiff,
                  any individuals deposed in this matter, and any other
                  witness necessary to provide rebuttal testimony.

         2.    Plaintiff’s Witnesses

       See Plaintiff’s Pretrial Memo.


  F.     Summary of Testimony of Each Expert Witness

         1.    Plaintiff’s Expert Witnesses

       See Plaintiff’s Pretrial Memo.

         2.    Defense Expert Witnesses

         a. Dr. Loren Laine

       The Medical Center has produced an expert report authored by

gastroenterology expert Dr. Loren Laine. (A copy of Dr. Laine’s written

expert report together with his curriculum vitae are collectively

attached as Exhibit A.) Plaintiff’s counsel is scheduled to conduct Dr.

Laine’s pretrial deposition on June 28, 2018.

       Dr. Laine’s opinion is that the care and treatment provided by

Medical Center staff was reasonable and appropriate. Dr. Laine opines

that it was reasonable to conclude that the source of Mr. Vargas’s

bleeding upon his presentation to the Medical Center was either gastric

ulcers or a bleeding diverticula. In either event, it was reasonable after

                                        8
       Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 9 of 13




performance of an upper endoscopy and colonoscopy to conclude that

Mr. Vargas was at low risk of a serious rebleeding event and to

discharge him from the hospital. Dr. Laine further concludes that

traveling by airplane did not increase Mr. Vargas’s risk of a rebleeding

event. Last, Dr. Laine’s opinion is that Medical Center staff

appropriately included Mr. Vargas as a participant in the decision

making process concerning the safety of discharge on December 3, 2014

and subsequently traveling via airplane later that day.

        b. Dr. Stephen Lagana

     The Medical Center has produced an expert report authored by

gastroenterology pathologist Dr. Stephen Lagana. (A copy of Dr.

Lagana’s written expert report dated March 12, 2018 together with his

curriculum vitae are collectively attached as Exhibit B.)

     Within his report, Dr. Lagana opines regarding the claimed cause

of Mr. Vargas’s demise. Based on his review of the pathology material,

Dr. Lagana concludes that Mr. Vargas did not have evidence of either

diverticulitis or a perforation site. Dr. Lagana also indicates that there

is no evidence to support the observation that Mr. Vargas had blood

evident within his abdomen, as reported within the autopsy report.


                                    9
        Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 10 of 13




Last, Dr. Lagana states that there are no guidelines concerning air

travel following diverticular bleeding or a colonoscopy.

  G.     Special Comment About Pleadings and Discovery

       None at this time.

  H.     Summary of Legal Issues Involved and Legal Authorities
         Relied Upon

       Federal Courts sitting in diversity, as in this case, must apply the

substantive law of the state whose law governs the action. See, e.g.,

Petrucelli v. Bohringer and Ratzinger, 46 F.3d 1298, 1308 (3d Cir.

1995). In this case, the burden of proof is on the Plaintiff to establish,

by a preponderance of the evidence, Medical Center staff: (1) did not

possess and employ the required skill and knowledge or (2) did not

exercise the care and judgment of a reasonable person in like cases, and

that the injury complained of either (1) resulted from the failure on the

part of Medical Center staff to possess and employ the required skill

and knowledge or (2) resulted from their failure to exercise the care and

judgment of a reasonable person in like circumstances. Collins v.

Hand, 431 Pa. 378, 246 A.2d 398, 401 (1968); Donaldson v. Maffucci,

397 Pa. 548, 156 A.2d 835, 838 (1959).




                                     10
       Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 11 of 13




     The Plaintiff must prove that each of the claimed injuries and

damages were with reasonable certainty caused by the alleged

negligence. A mere possibility that the claimed injuries and damages

could be related to the negligence at issue is not sufficient proof of

causation. Gordon v. Trovato, 234 Pa. Super. 279, 338 A.2d 653, 654,

657 (1975); Rice v. Hill, 315 Pa. 166, 172-73, 172 A. 289 (1934); Lorch v.

Eglin, 369 Pa. 314, 321, 85 A.2d 841, 844 (1952); Baccare v. Mennella,

246 Pa. Super. 53, 369 A.2d 806, 807, 809 (1976); American Air Filter

Co., Inc. v. McNichol, 527 F.2d 1297 (3rd. Cir. 1975).

     The opinion of an expert is necessary to establish the standard of

care required under the circumstances, that a deviation from said

standard existed, and that the alleged injuries were proximately caused

by the deviation from the standard of care. Expert testimony is

necessary to establish the causal connection between the injury and

proven negligent conduct in those cases where the connection is not

obvious, such as in this case. Brannan v. Lankenau Hospital, 490 Pa.

588, 417 A.2d 196, 199 (1980); Maliszewski v. Rendon, 347 Pa.Super.

109, 542 A.2d 170, 172 (1988), appeal denied, 526 Pa. 617, 554 A.2d 510




                                    11
         Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 12 of 13




(1988). (Defendants’ Proposed Jury Instructions are attached hereto as

Exhibit C.)

  I.      Stipulations Desired

        None at this time.

  J.      Estimated Number of Trial Days

  It is estimated that the trial of this matter will take approximately 5

days.

  K.      Other Pertinent Matters

        Defendants respectfully request that, to the extent possible, the

scheduling of witnesses, which include physicians, nurses and health

care providers, be done in a manner which is least disruptive of their

professional obligations. In this regard, it is respectfully requested that

non-party witnesses be provided with as much notice as possible

concerning the date and time of their testimony.

  L.      Exhibits

        The list of pre-numbered defense exhibits is attached hereto as

Exhibit D.

  M.      Special Verdict Questions

        Defendants’ proposed Verdict Slip is attached hereto as Exhibit E.



                                      12
        Case 1:16-cv-01657-YK Document 35 Filed 05/25/18 Page 13 of 13




  N.     Statement Concerning Notification of Individuals With
         Settlement Authority Pursuant to Local Rule 16.2

       Defense counsel hereby certifies that the appropriate individual

with settlement authority, Debra Verne, Senior Director, System

Claims, Penn State Health, has been notified of the requirements of

U.S. District Court - Middle District Local Rule 16.2.

  O.     Certification of Concurrence with Counsel Concerning
         Depositions and Videotapes Pursuant to Local Rule
         30.10

       Counsel have not yet determined which depositions will be used

at trial. Once such a determination is made, counsel will comply with

the provisions of Local Rule 30.10.


                                    Respectfully submitted,


Dated: May 25, 2018                 By:    /s Jonathan B. Stepanian
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                                      13
